        Case 1:17-cv-02458-TSC             Document 47       Filed 03/18/19     Page 1 of 4




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    NATIONAL WOMEN’S LAW CENTER,
    et al.,

                Plaintiffs,

         vs.                                          Civil Action No. 17-2458 (TSC)

    OFFICE OF MANAGEMENT AND
    BUDGET, et al.,

                Defendants.


                 PLAINTIFFS’ REQUEST FOR A STATUS CONFERENCE

        Plaintiffs respectfully request that the Court convene a status conference in this matter to

discuss Defendants’ compliance with the Court’s Memorandum Opinion and Order of March 4,

2019 (hereafter, collectively “Order’).1

        As the Court is aware, it entered summary judgment in Plaintiffs’ favor on March 4,

2019, and issued an Order stating that: “OMB’s stay of EEOC’s revised EEO-1 form and the

September 15, 2017 Federal Register Notice (Stay the Effectiveness of the EEO-1 Pay Data

Collection, 82 Fed. Reg. 43362) announcing the same are VACATED.” Dkt. No. 46. The

Memorandum Opinion accompanying this Order also stated that “It is further ORDERED that

the previous approval of the revised EEO-1 form shall be in effect.” Dkt. No. 45.




1
  Plaintiffs conferred with Defendants as required by Local Civil Rule 7(m) regarding this
request. Defendants’ position is that “Defendants are working diligently to comply with the
Court’s recent order and therefore believe that Plaintiffs’ request for a status conference is
unnecessary at this time.”
                                                  1
        Case 1:17-cv-02458-TSC         Document 47       Filed 03/18/19     Page 2 of 4




        Defendant EEOC previously had announced that the reporting period for the 2018 EEO-1

Report would open in early March, later refining the date to March 18, 2019.2 Since the Court

issued its Order, Plaintiffs have requested information about Defendants’ plans for compliance

from Defendants’ counsel. Defendants have declined to provide any specific information. See

Att. A. On Saturday March 16, 2019, Defendants’ counsel emailed Plaintiffs’ counsel stating

that:

        EEOC has informed us that it intends to post the following notice on its website
        either tomorrow evening or early Monday morning: “As it announced at the end
        of January, the EEOC is opening its EEO-1 online portal to receive 2018 EEO-1
        Component 1 data starting March 18, 2019 and ending May 31, 2019. The EEOC
        is working diligently on next steps in the wake of the court’s order in National
        Women’s Law Center, et al., v. Office of Management and Budget, et al., Civil
        Action No. 17-cv-2458 (TSC), which vacated the OMB stay on collection of
        Component 2 EEO-1 pay data. The EEOC will provide further information as
        soon as possible.”

See Att. B.

        On March 18, 2019, the EEOC opened the 2018 EEO-1 Survey for employer reporting.3

The EEOC also issued the following statement:

        Statement on the 2018 EEO-1 Portal Opening for Component 1 Data

        As it announced on February 1, the EEOC is opening its EEO-1 online portal to
        receive 2018 EEO-1 Component 1 data starting March 18, 2019, and ending
        May 31, 2019. Instructions for filing are available here:
        https://www.eeoc.gov/employers/eeo1survey/index.cfm.

        The EEOC is working diligently on next steps in the wake of the court's order in
        National Women's Law Center, et al., v. Office of Management and Budget, et al.,
        Civil Action No. 17-cv-2458 (TSC), which vacated the OMB stay on collection of




2
  EEOC, Press Release, “EEO-1 Survey for 2018 Will Open Early March 2019” (Feb. 1, 2019),
https://www.eeoc.gov/eeoc/newsroom/release/2-1-19.cfm.
3
  EEOC, “2018 EEO-1 Survey”, https://www.eeoc.gov/employers/eeo1survey/.
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        Case 1:17-cv-02458-TSC           Document 47        Filed 03/18/19      Page 3 of 4




       Component 2 EEO-1 pay data. The EEOC will provide further information as
       soon as possible.4

In short, EEOC has opened the 2018 EEO-1 reporting period only as to Component 1 data, not as

to the Component 2 pay data that is the subject of the instant litigation and the Court’s Order.

Both before and after this action, Plaintiffs have requested information about EEOC’s timeframe

for compliance and plans for alerting the reporting community to the obligation to submit

Component 2 pay data, but Defendants’ counsel has not provided any information beyond the

content of the notice. See Atts. A, B.

       Defendants’ delay in complying with the Court’s order, and inability or unwillingness to

provide any information about their plans to do so, is especially concerning because Defendants

previously represented that it would take OMB “1 day” to “get Component 2 ‘live’ should

plaintiffs prevail in this case.” See Att. C. Defendants made this representation while seeking

Plaintiffs’ consent to extend the summary judgment briefing schedule, in response to Plaintiffs’

concerns that further delay could put the collection of 2018 data at risk. Defendant EEOC did not

contradict OMB’s representation at that time, and Defendants have not explained the

inconsistency with their current actions in response to Plaintiffs’ recent inquiries.

       Accordingly, Defendants are out of compliance with the Court’s Order. Moreover, in

light of the deadline of May 31, 2019 for employers to submit their EEO-1 reports for 2018,

further delay in opening reporting for Component 2 pay data, and the possibility of employers

submitting Component 1 data without Component 2 pay data, risks logistical difficulties and

gaps in employer compliance. Plaintiffs therefore respectfully request that the Court convene a



4
 EEOC, “Statement on the 2018 EEO-1 Portal Opening for Component 1 Data”,
https://www.eeoc.gov/employers/eeo1survey/statement-2018-opening.cfm (emphasis in
original).

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       Case 1:17-cv-02458-TSC           Document 47       Filed 03/18/19      Page 4 of 4




status conference at its earliest possible convenience in order to obtain information regarding

Defendants’ plan for compliance with the Court’s Order and to provide guidance regarding the

Court’s expectations for compliance.

Dated: March 18, 2019                        Respectfully submitted,


                                             /s/ Robin F. Thurston___

                                             Robin F. Thurston (DC Bar No. 1531399)
                                             Javier M. Guzman (DC Bar No. 462679)
                                             Jeffrey B. Dubner (DC Bar No. 1013399)
                                             Democracy Forward Foundation
                                             P.O. Box 34553
                                             Washington, DC 20043
                                             (202) 448-9090
                                             rthurston@democracyforward.org
                                             jguzman@democracyforward.org
                                             jdubner@democracyforward.org

                                             Fatima Goss Graves (DC Bar No. 481051)
                                             Emily J. Martin (DC Bar No. 991968)
                                             Sunu Chandy (DC Bar No. 1026045)
                                             Maya Raghu (DC Bar No. 1035558)
                                             National Women’s Law Center
                                             11 Dupont Circle, NW, Ste 800
                                             Washington, DC 20036
                                             (202) 588-5180
                                             fgraves@nwlc.org
                                             emartin@nwlc.org
                                             schandy@nwlc.org
                                             mraghu@nwlc.org

                                             Attorneys for Plaintiffs




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